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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA

                               )
WEST LIBERTY FOODS, L.L.C.,    )
LIBERTY FREE RANGE PURVEYOR,   )
L.L.C., and LIBERTY FREE RANGE )
POULTRY, L.L.C.,               )                 Case No.4: 18-cv-00280
                               )
   Plaintiffs,                 )                 NOTICE OF WITHDRAWAL OF
                               )                 DEFENDANTS' RULE 12(B)(6)
v.                             )                 MOTION TO DISMISS WITHOUT
                               )                 PREJUDICE
BLUE APRON, LLC and BLUE APRON
                               )
HOLDINGS, INC.,
                               )
   Defendants.                 )
                               )



        The Defendants, Blue Apron, LLC and Blue Apron Holdings, Inc., hereby provide notice

that the Defendants' Motion to Dismiss (Doc. No. 18) filed on September 24,2018 is withdrawn.

That Motion is directed at the initial Complaint, and is withdrawn because the Plaintiffs filed an

Amended Complaint on October 15, 2018. The Defendants reserve the right to file a motion to

dismiss or an answer in response to the Amended Complaint.



                                             THE WEINHARDT LAW FIRM

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                                                            ATTORNEYS FOR DEFENDANTS



                      PROOF OF SERVICE
The undersigned certifies that the foregoing instrument was
served upon the parties to this action by serving a copy upon each
of the attorneys listed below on October 17, 2018 by

0    U.S.Mail                     0      FAX

0    Hand Delivered                0     Electronic Mail

0    FedEx/ Overnight Carrier
                                   r8l   EDMS


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             Is/ Nissa Maddalone
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